Criminal Notice of Appeal - Form A

NOTICE OF APPEAL

United States District Court

Eastern District of New York

Caption:
United States

 

Docket No.: 16 Cr. 21 (LDH)

 

 

 

 

 

Xavier Oneal
Hon. LaShann DeArcy Hall
(District Court Judge)
Notice is hereby given that Xavier Oneal appeals to the United States Court of
Appeals for the Second Circuit from the judgment Vv, other |
(specify)

entered in this action on 9/31/2018
(date)

This appeal concerns: Conviction only Sentence only v Conviction & Sentence | Other |

 

Defendant found guilty by plea | v | trial | | N/A [

Offense occurred after November 1, 1987? Yes | ¥ | No[ N/A [

Date of sentence: 9/31/2018 NAL |

Bail/Jail Disposition: Committed v Not committed | | N/A[

Appellant is represented by counsel? Yes ¥ ] No | | If yes, provide the following information:

Jean D Barrett, Esq.
47 Park St.

Defendant’s Counsel:

 

Counsel’s Address:

 

Montclair, NJ 07042

 

Counsel’s Phone: 973-744-1000

 

Nomi Berenson, Esq.

271 Cadman Plaza East
Brooklyn, New York 11201
718-257-7000

Assistant U.S. Attorney:

 

AUSA’s Address:

 

 

AUSA’s Phone:

 

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Signature
